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13   OpenAI Holdings, LLC, OpenAI Startup Fund Management, LLC,
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     OpenAI Startup Fund SPV GP III, L.L.C., OpenAI Startup Fund SPV GP IV, L.L.C.,
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16   OpenAI Startup Fund SPV III, L.P., OpenAI Startup Fund SPV IV, L.P.,
     Aestas Management Company, LLC, and Aestas LLC
17
     (Additional counsel listed on the next page)
18

19                                 UNITED STATES DISTRICT COURT
20                                NORTHERN DISTRICT OF CALIFORNIA
21                                        OAKLAND DIVISION
22 ELON MUSK et al.,                                 Case No. 4:24-cv-04722-YGR
23                  Plaintiffs,                      JOINT STIPULATION AND [PROPOSED]
                                                     ORDER REGARDING DATE OF
24          v.                                       HEARING ON PLAINTIFFS’ MOTION
                                                     FOR PRELIMINARY INJUNCTION
25 SAMUEL ALTMAN, et al.,

26                  Defendants.                        Action Filed: August 5, 2024
27                                                     Trial Date:   None Set
                                                       Judge: Hon. Yvonne Gonzalez Rogers
28

     JOINT STIP AND [PROPOSED] ORDER RE HR’G ON PLAINTIFFS’ MTN FOR PRELIMINARY INJUNCTION
                                   CASE NO.: 4:24-CV-04722-YGR
     sf-6229481.4
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24 Attorneys for Defendants Microsoft Corporation,
   Reid Hoffman, and Deannah Templeton
25

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     JOINT STIP AND [PROPOSED] ORDER RE HR’G ON PLAINTIFFS’ MTN FOR PRELIMINARY INJUNCTION
                                   CASE NO.: 4:24-CV-04722-YGR
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      Case 4:24-cv-04722-YGR           Document 63        Filed 12/09/24     Page 3 of 6




 1          Plaintiffs Elon Musk, Shivon Zilis, and X.AI Corp. (collectively, the “Plaintiffs”);

 2 Defendants Samuel Altman, Gregory Brockman, OpenAI, Inc., OpenAI L.P., OpenAI, L.L.C.,

 3 OpenAI GP, L.L.C., OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, LLC, OpenAI

 4 Holdings, LLC, OpenAI Startup Fund Management, LLC, OpenAI Startup Fund GP I, L.L.C.,

 5 OpenAI Startup Fund I, L.P., OpenAI Startup Fund SPV GP I, L.L.C., OpenAI Startup Fund SPV

 6 GP II, L.L.C., OpenAI Startup Fund SPV GP III, L.L.C., OpenAI Startup Fund SPV GP IV,

 7 L.L.C., OpenAI Startup Fund SPV I, L.P., OpenAI Startup Fund SPV II, L.P., OpenAI Startup

 8 Fund SPV III, L.P., OpenAI Startup Fund SPV IV, L.P., Aestas Management Company, LLC, and

 9 Aestas LLC (collectively, the “OpenAI Defendants”); Defendant Deannah Templeton, Defendant

10 Reid Hoffman, and Defendant Microsoft Corporation, by and through their counsel, hereby

11 stipulate and request as follows:

12          WHEREAS, on Friday, November 29, 2024, Plaintiffs filed a Motion for Preliminary

13 Injunction against Defendants with a noticed hearing date of January 7, 2025 (ECF No. 46);

14          WHEREAS, lead counsel for the OpenAI Defendants is arguing in the New York Court of

15 Appeals in Haussman et al. v. Baumann et al., Appeal No. 2024-00017, on that date;

16          WHEREAS, counsel for Plaintiffs and counsel for Defendants have conferred and agree, in

17 light of this conflict and subject to Court approval, to continue the hearing on Plaintiffs’ Motion

18 for Preliminary Injunction by one week, to January 14, 2025 (and not to alter the current briefing

19 schedule);

20          WHEREAS, this stipulation is without prejudice to any parties’ arguments;

21          IT IS HEREBY STIPULATED AND AGREED, SUBJECT TO COURT APPROVAL, by

22 Plaintiffs and Defendants that the hearing on Plaintiffs’ Motion for Preliminary Injunction shall be

23 continued by one week, from January 7, 2025, to January 14, 2025.

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     JOINT STIP AND [PROPOSED] ORDER RE HR’G ON PLAINTIFFS’ MTN FOR PRELIMINARY INJUNCTION
                                   CASE NO.: 4:24-CV-04722-YGR
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      Case 4:24-cv-04722-YGR      Document 63        Filed 12/09/24    Page 4 of 6




 1 Dated: December 6, 2024                           TOBEROFF & ASSOCIATES, P.C.

 2

 3                                         By:       /s/ Marc Toberoff
                                                     Marc Toberoff (CA SBN 188547)
 4
                                                     Attorneys for Plaintiffs Elon Musk, Shivon
 5
                                                     Zilis, and X.AI Corp.
 6
     Dated: December 6, 2024                         MORRISON & FOERSTER LLP
 7

 8                                         By:       /s/ Jordan Eth
 9                                                   Jordan Eth (CA SBN 121617)

10                                                   Attorneys for Defendants Samuel Altman,
                                                     Gregory Brockman, OpenAI, Inc., OpenAI
11                                                   L.P., OpenAI, L.L.C., OpenAI GP, L.L.C.,
                                                     OpenAI OpCo, LLC, OpenAI Global, LLC,
12                                                   OAI Corporation, LLC, OpenAI Holdings,
13                                                   LLC, OpenAI Startup Fund Management,
                                                     LLC, OpenAI Startup Fund GP I, L.L.C.,
14                                                   OpenAI Startup Fund I, L.P., OpenAI Startup
                                                     Fund SPV GP I, L.L.C., OpenAI Startup Fund
15                                                   SPV GP II, L.L.C., OpenAI Startup Fund SPV
                                                     GP III, L.L.C., OpenAI Startup Fund SPV GP
16                                                   IV, L.L.C., OpenAI Startup Fund SPV I, L.P.,
17                                                   OpenAI Startup Fund SPV II, L.P., OpenAI
                                                     Startup Fund SPV III, L.P., OpenAI Startup
18                                                   Fund SPV IV, L.P., Aestas Management
                                                     Company, LLC, and Aestas LLC
19

20 Dated: December 6, 2024                           DECHERT LLP
21

22                                         By:       /s/ Russell P. Cohen
                                                     Russell P. Cohen (SBN 213105)
23

24                                                   Attorneys for Defendants Microsoft
                                                     Corporation, Reid Hoffman, and Deannah
25
                                                     Templeton
26

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     JOINT STIP AND [PROPOSED] ORDER RE HR’G ON PLAINTIFFS’ MTN FOR PRELIMINARY INJUNCTION
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     Case 4:24-cv-04722-YGR            Document 63        Filed 12/09/24      Page 5 of 6




 1                                    SIGNATURE ATTESTATION

 2          I hereby attest that signatories listed above, on whose behalf this stipulation is submitted,

 3 concur in the filing’s content and have authorized the filing.

 4

 5 Dated: December 6, 2024                         /s/ Jordan Eth____________________________
                                                   Jordan Eth (CA SBN 121617)
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     JOINT STIP AND [PROPOSED] ORDER RE HR’G ON PLAINTIFFS’ MTN FOR PRELIMINARY INJUNCTION
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      Case 4:24-cv-04722-YGR         Document 63       Filed 12/09/24     Page 6 of 6




 1                                      [PROPOSED] ORDER

 2           GOOD CAUSE APPEARING, the Court hereby approves the foregoing stipulation and

 3 ORDERS that the hearing on Plaintiffs’ Motion for Preliminary Injunction be continued by one

 4 week, from January 7, 2025, to January 14, 2025. The existing briefing schedule shall remain in

 5 effect.

 6
             December 9, 2024
     Dated: ________________________            _________________________________________
 7                                                    The Hon. Yvonne Gonzalez Rogers
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     JOINT STIP AND [PROPOSED] ORDER RE HR’G ON PLAINTIFFS’ MTN FOR PRELIMINARY INJUNCTION
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